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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


HERMÈS INTERNATIONAL and                         No. 22-cv-00384-JSR
HERMÈS OF PARIS, INC.,

           Plaintiffs,

              v.

MASON ROTHSCHILD,

           Defendant.




                   EXPERT REPORT OF DR. BLAKE GOPNIK

                             September 1, 2022
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SUMMARY

        1. In the following report, I show how the images and NFTs produced and sold by Mason

Rothschild find their natural and obvious home among the artistic experiments carried out by

modern artists over the last century. Like several important predecessors, Rothschild seeks to

probe the nature of art, and of commerce, by blurring the distinction between the two

categories. In engaging with the commercial world of Hermès Birkin bags, his art turns

commerce itself into an art supply.


QUALIFICATIONS AND CREDENTIALS

        2. My CV is attached to this report.1 In 1994, I completed a doctorate in the history of

art at the University of Oxford, with a concentration in the psychology and philosophy of

representation. I then lectured in art history at McMaster University in Hamilton, Ontario,

before becoming fine-arts editor and then lead art critic at the Globe and Mail newspaper in

Toronto.

        3. I became the chief art critic of the Washington Post in 2001, and for a decade I wrote

on the full range of modern and contemporary art for the paper. In 2010, I was hired as the

staff art critic at Newsweek magazine and since 2012 have been a regular contributor to the

arts coverage of the New York Times. At both Newsweek and the Times, I published essays with



1
 My CV includes a selected list of my written work. I have also attached a list showing my other written work
during the past 10 years.



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direct bearing on the “MetaBirkins” art of Mason Rothschild and its artistic commentary on

commodity culture.

       4. In 2020, HarperCollins published my 1,000-page book titled Warhol. It stands as the

first comprehensive biography of Pop artist Andy Warhol, whose work is the crucial precedent

for Rothschild’s own artmaking.

       5. Earlier this year, the Spritmuseum in Stockholm, Sweden, commissioned me to curate

a 2024 exhibition on Warhol and the Business Art movement he helped launch. After studying

the “MetaBirkins” project, in online images and various texts written about it, I am considering

it for inclusion in a final section of the exhibition reserved for the movement’s 21st-century

heirs in the new world of NFTs.


MATERIALS RELIED UPON; COMPENSATION

       6. I have mentioned in footnotes to this report materials I have relied upon in forming

my opinions. In addition to those materials set out in the footnotes, I reviewed and relied upon

the following materials: (a) the website at metabirkins.com; (b) court documents as follows:

       — Case 1:22-cv-00384-AJN-GWG Document 24

       — Case 1:22-cv-00384-AJN-GWG Document 27

       — Case 1:22-cv-00384-AJN-GWG Document 31

       — Case 1:22-cv-00384-AJN-GWG Document 38

       — Case 1:22-cv-00384-JSR Document 50

       — Expert Report of Scott Duke Kominers, Ph.D., August 5, 2022




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       — Supplement to Expert Report of Scott Duke Kominers, Ph.D., Aug. 26, 2022

       — Documents produced in discovery with the following Bates numbers:

                  Rothschild008266-8267; Rothschild008303-8320; Rothschild008390-8396;

                  Rothschild008398-8404; Rothschild008409-8448; Rothschild008463-8469;

                  Rothschild011349-11353; Rothschild011356-11366; Rothschild011372-

                  11376; Rothschild011378-11385; Rothschild011391-11409;

                  Rothschild011416-Rothschild011428; Rothschild011433-11485;

                  Rothschild011508-11518; Rothschild014566-14594; Rothschild014635-

                  14637; Rothschild014643-14645; Rothschild014647-14655;

                  Rothschild014660-14663; Rothschild014669-14678; Rothschild014683-

                  14685; Rothschild014687-14694; Rothschild014698-14702;

                  Rothschild014705-14712; Rothschild014728-14734; Rothschild014738-

                  14752; Rothschild014796-14802

       7. I am being compensated $11,400 for my work in preparing this report, a lower

amount than I would otherwise charge in light of the importance of this case to the public. I am

charging a reduced hourly rate for my deposition and trial time of $200/hr. My compensation is

not dependent in any way on the results of my work, my opinions, or the outcome of this

matter.


ART-HISTORICAL PRECEDENTS AND CONTEXT FOR THE “METABIRKINS” WORKS

       8. Projects that deliberately blur the boundaries between commerce and art have been

some of the most important artistic products of the 20th and 21st centuries, eras when


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consumer culture has dominated our society’s consciousness, and therefore much of our best

art, as well. This is the historical context in which Mason Rothschild’s’s own art must be

understood.

           9. Marcel Duchamp and the birth of Business Art: Our modern crossover between

commodities and art had begun by 1917, when French artist Marcel Duchamp presented a

standard, store-bought urinal for inclusion in a New York art exhibition under the title of

“Fountain,” thereby for the first time bridging the categories of the commercial and the artistic.

In 2004, a survey of experts deemed Duchamp’s piece to be the most influential artwork of the

20th century. It launched a series of other works, by Duchamp and a host of followers, that

commented on the commodity culture of our times by participating in it. Mason Rothschild’s

“MetaBirkins” project clearly lives within that tradition.

           10. Andy Warhol as a Business Artist: Marcel Duchamp’s most significant heir was Andy

Warhol, whose famous Pop Art was often built around a confusion between the cultures of art

and commerce. His first significant exhibition, at the Ferus Gallery in Los Angeles in 1962,

presented 32 paintings of Campbell’s Soup cans that differed only in the flavors of soup on their

labels. As documented in my Warhol biography,2 contemporary critics greeted these works as

either scandalous or brilliant, specifically because of the way the Soups straddled fine art and

commodity culture. Warhol doubled-down on this direction in his art with his Brillo Boxes,

facsimiles of standard supermarket cartons that he exhibited in New York in 1964. The late

Arthur Danto, one of America’s most eminent philosophers, saw these as among the most


2
    Blake Gopnik, Warhol (HarperCollins, 2020).



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important works of Western art ever; his study of Warhol’s Brillo Boxes, which examined how

they expanded artistic boundaries and definitions, spawned an entire school of thought in the

philosophy of art. Rothschild’s “MetaBirkins” falls squarely within the expanded definitions that

Warhol proposed and that Danto and his followers have analyzed.

       11. Business Art as a cultural movement: By the end of the 1960s, Andy Warhol had

filled New York galleries with any number of projects that were clearly art (his many canvases

silkscreened with flowers; his wallpaper covered with pink cows) but that were also hard to tell

from deluxe commodities for sale elsewhere in the culture (the flowered dresses silkscreened

by the Finnish firm Marimekko; colorful wallpapers for sale in home-décor shops). Warhol’s

work was commenting on the prevalence of consumption in American culture, but also on the

ways that a booming art market had turned paintings into consumer commodities akin to

dresses and wall coverings—or, as we might note today, to the Birkin bags by Hermès that

Rothschild has chosen to comment on. Just as Warhol was drawing comparisons between the

high-end fine art for sale in galleries and a consumer textile for sale in stores, so Rothschild’s

“MetaBirkins” artwork draws a comparison between the digital art of our era, for sale as NFTs,

and the elite bags sold by Hermès.

       12. A clear distinction between “art” and “commerce” has never really been credible in

Western societies: One way or another, art has always been paid for; it has often been offered

for sale. In underlining that fact, Warhol, and Rothschild, have also shown that art is uniquely

placed to comment on our commodity culture rather than simply swimming in it—as a deluxe




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wallpaper or fancy purse might. The Warholian point is that artists can never really choose

between commerce or art, but they can choose to engage with commerce as art.

        13. In his report for this case, Scott Duke Kominers consistently tries to distinguish

between what he calls “art-only” NFTs and “digital-brand” NFTs,3 but the distinction is specious,

and nothing in the supplement to that report leads me to think otherwise. Any fine artist eager

to be recognized in the 21st century, and to earn a living, would naturally adopt many or all of

the strategies used to publicize and sell branded products, and this would include the strategies

that brands adopt in the new world of NFTs. As I outlined some time ago in an analysis for the

Washington Post,4 at least as far back as Rembrandt an artist’s signature style has also

functioned to create brand-recognition in the market for art; there is simply no way to

distinguish between an artist’s properly “aesthetic” activities and the way they use those

aesthetics to establish the brand that their market, like most elite markets, depends on. Even as

they make their art, most artists are also running a small business whose function is to sell that

art. To do that, they can choose to use the same marketing strategies that any other business

would use. Just as Pablo Picasso was a master at manipulating the 20th-century market for

physical art objects, playing dealers and collectors off each other to control his art’s supply and

demand, so today’s artists should be expected to understand and use all aspects of the 21st

century’s new digital markets for their goods and images.




3
 Expert Report of Scott Duke Kominers, August 5, 2022, paragraph 30.
4
 Blake Gopnik, “Rembrandt's Genius Lies In the Brand, not the Hand,” Washington Post, April 30, 2006:
https://www.washingtonpost.com/archive/lifestyle/style/2006/04/30/rembrandts-genius-lies-in-the-brand-not-
the-hand/a16c3c2e-84a7-4207-a61f-b65b14a64e0b/



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        14. Many living artists who achieved success before the age of NFTs have been doing

their best to embrace NFTs as a new medium for marketing themselves and their work.5 It

would be strange for them not to embrace the full range of marketing opportunities, including

digital “utilities,” that Kominers sees as restricted to his so-called “digital brands.” Any artist

who restricts his or her digital engagement to an “art-only” space, as Kominers suggests some

do, has simply failed to take advantage of the marketing options that NFTs present. Some of the

projects that Kominers classes as “digital brands,” such as the NFTs of the Bored Ape Yacht

Club,6 are in fact widely discussed in the context of NFT art. As quoted in the supplement to

the Kominers report, Rothschild speaks of the advantages that come with building a sense of

community among the members of his art’s digital audience—in knowing “who your core fans

are,” and interacting with them “on a daily basis, like, you know, in seconds” 7—and in doing

that he is simply doing what any smart artist ought to do in the age of NFTs. He is not in any

way signaling that he is entering some other non-art domain of “branding,” as Kominers

suggests he is—Rothschild couldn’t make such a switch if he wanted to, because no such

separate domain has ever existed.8

        15. What Warhol realized, and passed on to heirs such as Rothschild, is that by sowing

confusion between more evidently marketed consumer commodities and “fine art” (he once


5
  See, for example, the NFT projects of New York’s prestigious Pace gallery, showcasing its veteran artists, at
https://www.pacegallery.com/pace-verso. See also the comments of John Gerrard in Blake Gopnik, “One Year
After Beeple, the NFT Has Changed Artists. Has It Changed Art?,” New York Times, March 3, 2022.
6
  Expert Report of Scott Duke Kominers, August 5, 2022, paragraph 53 and passim.
7
  See Rothschild’s August 16 Twitter Space conversation (transcript page 46, line 23), as quoted in Supplement to
Expert Report of Scott Duke Kominers, Ph.D. August 26, 2022, p. 3.
8
  See Rothschild’s August 16 Twitter Space conversation (transcript page 46, line 23), as quoted in Supplement to
Expert Report of Scott Duke Kominers, Ph.D. August 26, 2022, p. 3.



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referred to his Soup Cans as “portraits”) he could reap an artistic profit as well as a financial

one. By confusing art and commerce, that is, Warhol drew attention to what we might call the

“Rembrandt situation” that had long been in force in the art world, but was rarely

acknowledged. Rothschild brings Warhol’s maneuver into the 21st century by rejecting any

difference between “art-only” NFTs and “digital-brand” NFTs. You might say that his

“MetaBirkins” set out to prove that the naïve distinction that Kominers and others might want

to draw between art and branding can no longer hold, if it ever did.

        16. As outlined in an article commissioned from me by the New York Times in 2018,9

Warhol’s work led other artists of the era to dig still deeper into similar artistic ideas. In 1969,

Life magazine published an extensive feature on this trend, whose works included a shipping

pallet stacked high with $250,000 in dollar bills and a piece that asked the Whitney Museum of

American Art to take out a $100,000 loan against its collection and to invest the amount instead

— as art.10 That same year, Artforum magazine, to this day the most prestigious publication on

contemporary art, gave one of its covers over to the work of Iain and Ingrid Baxter, of

Vancouver, who had created a corporate alter-ego called the N.E. Thing Co., which offered

corporate services of all kinds as works of art.

        17. Les Levine, a friend and rival of Warhol’s in New York, opened a restaurant, with the

entire enterprise counting as an aesthetic endeavor. It served Canadian deli food and so didn’t

last long—but its failure as a business did not detract from its success as a work of art.


9
 “Andy Warhol Inc.: How He Made Business His Art,” New York Times, Nov. 1, 2018.
10
  “Art You Can Bank On,” Life (September 19,
1969): 58.



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       18. Business Art and business ventures: The influential crossover between commerce

and art that Warhol initiated in the 1960s came to full fruition in his work of the following

decade. That’s when he coined the term “Business Art,” by which this important form of

conceptual art is now known.

       19. My biography of Warhol explains the situation as follows:


           In the mid-1970s, Warhol (or a ghostwriter) summed up his position with
       the famous proposition that “being good in business is the most fascinating
       kind of art. Making money is art and working is art and good business is the
       best art.” But like most Warholian aphorisms, that one doesn’t shed much
       light on what he was really up to, since the “business” he took on was only
       rarely “good,” at least in standard Wall Street terms.
           The real, very Warholian creativity came in making the statement at all
       rather than in trying to realize its claims. Coming up with the conceit of
       Business Art, that is, let Warhol produce objects and offer them for sale while
       insisting that the offering, more than the objects, counted as the art. It was
       the performance that mattered, not its cash results. In the early 1980s, when
       Warhol was often billed as a full-blown sell-out, he reacted with unusual
       venom when his print dealer said they were going to be having a chat about
       Warhol-brand bed linens. “No. We’re not,” Warhol told him. “Sonny, I’ve
       turned down millions of dollars in deals for sheets and pillowcases and I’m
       not going to do it for you.” In one unpublished diary entry, he said it was “so
       sick” that rich people could spend $5,000 on sheets.
           The aphorism that “Good business is the best art” tells us less about
       Warhol’s real desire for success in business than it tells us about his eagerness
       always to move forward into virgin territory in art—in this case, by dressing it
       up as business.

       20. It’s not clear that Warhol’s most corporate projects ever made much sense as

business ventures: His “Andymat” chain of diners, serving only reheated frozen foods, folded

before it sold a single meal; Interview magazine, which dominated Warhol’s studio and its staff

in the 15 years before his sudden death, in 1987, at best broke even and often lost money. He

kept pouring money into such “failing” projects because of the promising, properly artistic


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confusion they continued to spawn as they straddled, or even dismantled, the border between

art and commerce.

       21. On the other hand, there were cases where the very financial success of a project

that might normally be seen as traditional fine art suggested that it had a better fit in Warhol’s

new genre of Business Art. This was especially true of the society portraits that funded Warhol’s

entire enterprise for most of the 1970s and ’80s. He knew, as many of his critics insisted, that

endless silkscreened canvases of miscellaneous tycoons and doyennes could not be taken

terribly seriously as contributions to the Old Master portrait tradition. As elements or “art

supplies” in his new Business Art project, however, those portraits stood out as truly avant-

garde, worthy of a place among the other examples of the new Business Art genre that had

come on the scene in the late 1960s. Since Warhol’s portraits brought in real money, they stood

squarely in the realm of real business, even as so much about them also screamed “art.” As

Business Art, they conveyed the message that all art, however excellent in traditional terms,

also existed in both these spaces at once.

       22. Once the avant-garde had declared the death of the traditional media of painting

and sculpture—in part because any aesthetic dividends they paid seemed to have been

swamped by their financial returns—business itself seemed to be the art supply most likely to

cast light on the commercialized world that surrounds us. The more that art might be confused

with commerce, the more likely it was to have impact as truly novel and significant art that

might puzzle and disturb. The cultural disturbance caused by Mason Rothschild’s

“MetaBirkins”—including to the Hermès company—indicates that they are exploring similar



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terrain. By participating in the world of digital brands, home to Hermès and other high-end

commodities, Rothschild gets to probe how fine art and branding might interact in the 21st

century. Using the language of the Kominers report, you could say that, as an artist, Rothschild

deliberately rejects the restricted world of “art-only” NFTs (I have argued in the Times that its

artistic potential is close to non-existent)11 and instead ventures into the world of “digital-

brand” NFTs that seems to have real leverage on our current reality. Rothschild’s art would

have far less significance if it had not crossed over into Hermès-style branding. As discussed

below, almost the only artistic potential of NFTs comes from their contacts with novel

marketing—that is, their potential lies in their success as Business Art. And to be successful as

Business Art, Rothschild’s work needs to have the closest of connections with visibly successful

business.

        23. Business Art in the 21st Century: In 2011, a book on the topic of Business Art ran to

almost 400 pages, and included sections on 49 contemporary artists who have explored the

genre.12 Several of the art world’s best known figures of recent decades have done the same

and provide a contemporary context for Mr. Rothschild’s “MetaBirkins.”

        24. One of the purest examples of post-Warhol Business Art can be found in the work of

the prominent Japanese artist Takashi Murakami. In a pioneering essay on Murakami, Scott

Rothkopf, the chief curator at the Whitney Museum, wrote about how capitalist business




11
   Blake Gopnik, “One Year After Beeple, the NFT Has Changed Artists. Has It Changed Art?,” New York Times,
March 3, 2022.
12
   Luis Jacob, ed., Commerce by Artists (Toronto: Art Metropole, 2011).



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models are at “the very core” of everything the artist has done.13 Murakami’s career

retrospective at the Brooklyn Museum in 2008—its classic Business Art title was

“©Murakami”—included a a pseudo-store positioned halfway through the show that offered a

collection of handbags produced by Murakami. As I said in my review of the show, “Once

staged in a venerable museum, Murakami’s art about consumerism becomes more powerful

than simple merchandise could ever be.”14

        25. The British artist Damien Hirst, although perhaps best known for his stuffed sharks

set afloat in tanks of formaldehyde, has had more art-historical significance as a Business Artist

than as a sculptor. The diamond encrusted skull that he commissioned from jewelers in 2007

got its artistic potency from its $100,000,000 asking price, as I explained at the time in the

Washington Post.


                 You could say that the price tag, with its nice round number trailing all
        those lovely zeros, is the most important and valuable art supply that went into
        the piece, and is what makes it work.
                 That's because "For the Love of God" isn't only an example of
        conspicuous consumption, like some joy ride to outer space. It is a work of art
        that is all about outrageous and pointless overspending. And the best way for it
        to be about that is for it to insist that it is also the ultimate example of it: White
        Cube [Hirst’s gallery] claims the skull's fabrication drove up the price of certain
        kinds of diamonds; the Bond Street firm that crafted it, "jewelers by Royal
        Appointment to both Her Majesty the Queen and His Royal Highness the Prince
        of Wales," describe the skull as "the largest diamond piece commissioned since
        the Crown Jewels."15



13
   Scott Rothkopf, “Takashi Murakami: Company Man,” ©Murakami (New York: Rizzoli, 2008), 140.
14
   Blake Gopnik, “Toying With Catastrophe: Takashi Murakami Coats the Toxic Fruit of Consumer Culture With
Bold, Playful Imagery,” The Washington Post, May 5, 2008.
15
   Blake Gopnik, “An Anatomy of Consumption,” The Washington Post,
Sept. 7, 2007.



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        26. Rothschild’s “MetaBirkins” mine a similar artistic seam. In order to fully bring high-

end consumption to our attention, they need to riff on a conspicuous example of it—and

almost nothing could fit the bill as well as the celebrated Birkin bag by Hermès, costing as much

as $300,000 for a few square feet of hide.

        27. The very public, showy sale of the “MetaBirkins,” using all the techniques and

“utilities” of digital branding, also fits within a tradition earlier explored by Damien Hirst.

        28. In September of 2008, on the very day that Lehman Brothers went under, Hirst

staged a massive sale of more than 200 works of his own art at Sotheby's auction house in

London, taking in almost $200 million from buyers. Yet the auction was less about the objects

that sold than it was about itself, as a public work of performance art. "The

Gesamtkunstwerk"—the all-encompassing work of art—"was very much a part of it," said

Cheyenne Westphal, who was in charge of the sale for Sotheby's.16

        29. Hans Ulrich Obrist, one of the most celebrated curators in today’s art world, has

noted that no other auction has also become a part of art history, on a par with the paintings

and sculptures the discipline normally studies.

        30. Rothschild’s “MetaBirkins” are likewise more notable for their cultural presence as a

collection of works for sale than for their virtues as individual aesthetic objects.

        31. NFTs as Business Art: In just the last two years, the art world and its market have

shifted focus from traditional sales, at auction and in galleries, to the brave new world of



16
 Blake Gopnik, “Damien Hirst Repackages Warhol for Our Times and Sells Himself,” Newsweek,
March 19, 2012.



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nonfungible tokens. That’s where Rothschild’s “MetaBirkins” have their principal home. As

works of a truly contemporary Business Art, that’s the only place where “MetaBirkins” can

afford to live.

        32. As I argued in a lengthy recent treatment of NFTs, commissioned from me by the

New York Times, these blockchain tokens themselves don’t have any real aesthetic value, since

they are nothing more than certificates of authenticity that can be attached to any kind of art

object at all, regardless of its appearance.17 Where they do truly take their place in art history, I

explained, is within the Business Art tradition, where the fact that they get traded, and what

that trading means, are vital to their cultural power.

        33. For example, the central interest in the rather banal digital images of the famous

NFTer known as Pak comes from the way they are offered to the public for just minutes at a

time, with the total number you buy affecting the kind of NFT’d image you get. The central

interest in Rothschild’s “MetaBirkins” NFTs similarly comes from their place as high-priced

commodities in the immaterial blockchain economy, and how that closely echoes the place that

Hermès’s Birkin bags take up in the real world of material goods and that Kominer’s so-called

“digital brands” take up in the world of NFTs.

        34. Birkin bags are bought by a rarefied class of people who can afford such conspicuous

moments of consumption. Rothschild’s NFT’d “MetaBirkins” are meant to mimic this economic

aspect of the real-world bags they depict—in much the same way, in fact, that a more



17
 See Blake Gopnik, “One Year After Beeple, the NFT Has Changed Artists. Has It Changed Art?,” New York Times,
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traditional artistic depiction points to something of interest by mimicking its appearance. As

Rothschild put it in an interview, since Birkin bags are fundamentally about “showing off”

extreme wealth, NFTs that fetch “crazy amounts of money” have a similar status.18 The

particular combination of Rothschild’s production of NFTs, and the way they reference the

Birkin bags of Hermès, allows Rothschild to make an important artistic point about the way that

our society—including the art world—is dominated by high-status goods.

         35. The function of the “MetaBirkins” would therefore dissolve—Rothschild’s artistic

expression would be stymied—if they had to represent generic handbags of no particular

cultural interest or distinction. NFT’d images made to mimic a purse sold at Walmart would be

sure to get little artistic traction in our Hermès-mad culture. The Kominers report submitted in

this case is quite right to note that the success of Rothschild’s “MetaBirkins” depends on their

connection to the Hermès brand, but this is true of any art that points to something of note in

our culture. It is certainly true that the art of Diego Velazquez might have meant less to viewers

had it not been depicting, and commenting on, the imperial potentates of 17th-century Spain,

but that does not detract from that art, or make it less art-full. Ditto for Warhol’s concentration

on vital American brands such as Campbell’s and Brillo—and Marilyn Monroe. No-name soups,

or stars, would certainly have had less success in the market for ideas or for paintings.




18
  “NFT artist: 'MetaBirkins' project aims to create 'same kind of illusion that it has in real life',” Yahoo Finance
Video, Dec. 6, 2021.



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‘METABIRKINS’ AS A TITLE
       36. At its most basic, the title “MetaBirkins” does what titles in art most commonly do: It

indicates the subject of the artwork. In fact, when curators and art historians come across a

work that hasn’t been titled by its artist—few Old Master paintings ever were—they give it a

title that is simply a description of what is shown in it: “Girl with a Pearl Earring” or “The Virgin

of the Rocks.” Most often, an artistic title has no bigger aim than to let us pick out one work of

art from all others, by naming its subject. Given that Mason Rothschild’s “MetaBirkins” depict,

well, Birkins, it would have been almost bizarre for him not to have indicated that in his title.

       37. But of course Rothschild’s full title, “MetaBirkins,” adds to the Birkins that it

describes as his subject, just as his artwork goes beyond a simple realist depiction of the

Hermès bags. Rothschild himself has said that one thing he has in mind, in his artistic

experimentation, is to transfer the Birkin bag, with all its real-world cultural baggage, into a

digital world where virtuality reigns—that is, into what is often called the “metaverse.” The

“meta” in the title “MetaBirkins” flags that attempt, and helps to make clear at least one aspect

of Rothschild’s larger project: It tells us to consider the bag we see in Rothschild’s NFT as a new

kind of elite metaversal commodity. Rothschild’s art asks us to imagine the “Metabirkin” as the

kind of deluxe Hermès bag a MetaKardashian might carry, in the virtual reality we will all

inhabit—at least if Mark Zuckerberg has his way. That lends a speculative quality to Rothschild’s

work that aligns it with certain kinds of literary science fiction, where current cultural trends

and goods are extrapolated into the future.




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         38. As Rothschild explained in an interview,19 he wanted to transfer the real-world aura

of the physical Birkin into the virtual domain, meaning that the difference between a Hermès

Birkin and a Rothschild “MetaBirkin”—one physical, the other virtual and electronic—was at

least as important as any visual similarity there might be between the two objects. (And the

visual similarity is weaker than Rothschild might have made it: His images portray “MetaBirkins”

that come covered in goofy, garish fake fur that goes quite against the “classy” image that

Hermès cultivates for its real-world purses; Rothschild’s ridiculous fur flags the absurdist,

parodic intent of his project. It is almost impossible to imagine that Hermès would have chosen

to create similarly fur-covered purses—or uterus-bags, as in Rothschild’s earlier “Baby Birkin”

project—whether in reality or as NFTs in the coming metaverse. The sheer absurdity of that fur

helps to make clear the artistic nature of Rothschild’s project.)

         39. But the prefix “meta-” in Rothschild’s title also fulfills another, possibly more

important function. It tells an informed viewer that the interest we are supposed to take in the

Birkin that Rothschild has labelled “meta” comes from a larger comment it makes, rather than

from its mere virtues as a depiction of a fancy purse.

         40. This has been one standard use of the prefix “meta-” for several decades: A painting

that repeats a famous work from the past, such as the Mona Lisa, counts as a “metapainting”: It

takes a distant look at the meaning and history of how artists have used paint; it doesn’t aim

simply to be a fine painting in its own right. “Metafiction,” a common category in contemporary



19
  “NFT artist: 'MetaBirkins' project aims to create 'same kind of illusion that it has in real life',” Yahoo Finance
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literature, similarly scores its points by talking about the nature and function of fiction; it

doesn’t aim to tell a gripping tale about compelling characters. The name “MetaBirkins”

therefore tells us, among other things, that we should read the image it comes attached to as

an attempt to make a larger comment on the nature of the Birkin bag—and therefore on the

nature of elite commodity culture. The combination of the prefix “meta-” with the brand name

“Birkin” tells us that we’re dealing with more than the latest fancy object labeled “Birkin,” such

as the Hermès company might release on its own behalf. It tells us to take a step back and

contemplate what Birkin-ness really means to our society.




                                       _____________________________
                                       Dr. Blake Gopnik




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                                       CURRICULUM VITAE




PROFESSIONAL EXPERIENCE:

    Writing and Reporting
        2022 - 2025 HarperCollins USA
              Contracted to write the first records-based biography of Albert Barnes, founder of
              Philadelphia’s celebrated collection of modern art.
        2012 - present The New York Times, New York, NY
              Regular freelance contributor to the weekday Arts and Sunday Arts and Leisure sections.
              Author of major profiles of such figures as Claes Oldenburg and Kara Walker and features on
              topics including Andy Warhol’s Empire and Edward Hopper’s copying.
              Publications at www.nytimes.com/by/blake-gopnik
        2013 - 2020 HarperCollins USA and Penguin UK.
              Author of Warhol, the first comprehensive biography of Pop artist Andy Warhol, reviewed
              and featured in more than 75 publications.
        2014 - present Marketplace Morning Report at American Public Media
              Frequent radio appearances as an expert on the intersections between business and art.
        2014 - 2016 Artnet News, New York, NY
              Critic at Large. Launched “Strictly Critical,” video reviews of current art with Christian
              Viveros-Fauné.
              Publications at news.artnet.com/about/blake-gopnik-86
        2011 - 2013 Newsweek and TheDailyBeast.com, New York, NY
              Art and Design Critic. Criticism, feature writing and Web postings on important figures,
              events and issues in the visual arts for the weekly magazine and its Web site.
              Publications at www.newsweek.com/authors/blake-gopnik
        2001 - 2011 The Washington Post, Washington, DC
              Chief Art Critic. Reviews, features and essays on national and international visual arts
              events and issues. Pioneer in Web video at the Post. Launched “The Daily Pic,” a daily
              column discussing a single work of art or cultural artifact at BlakeGopnik.com. Since 2010,
              more than 2,000 items have gone out to over 130,000 followers on social media.
        1998 - 2000 The Globe and Mail, Toronto, ON
              Visual Arts Critic for Canada's national newspaper. Regular reviews and features on the art
              scene in Canada and abroad.




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    Editing
        1996 - 1998 The Globe and Mail, Toronto, ON
               Visual and Performing Arts Editor. Responsible for all aspects of the assigning and editing of
               stories in the fine arts, theatre and dance.
        1995 Insite magazine, Toronto, ON
               Editor in chief of Canada’s leading magazine on architecture and design.
    Teaching
        2012 - present Institute of Fine Arts, New York University
               Guest speaker in courses on the High Renaissance, on the exhibition industry and on close
               readings of art.
        1994 - 1995 McMaster University, Hamilton, ON
               Lecturer in historiography and Renaissance art.
        1992 Centre for Medieval and Renaissance Studies, Oxford, U.K.
               Lecturer in Italian Renaissance art.
        1990 - 1992 Beaver College, Oxford, U.K.
               Lecturer in Renaissance art and the psychology of representation.


EDUCATION:
        1995 University of Oxford, Department of the History of Art
               Ph.D. on Renaissance realism and the philosophy and psychology of representation.
        1988 McGill University, Montreal, PQ
               B.A., First Class. Joint Honors History and English (medieval studies)



PRINCIPAL AWARDS AND HONORS:
        2017-2018 Cullman Center for Scholars and Writers, New York Public Library
               Research fellowship.
        2015-2016 Leon Levy Center for Biography, CUNY Graduate Center, New York
               Research fellowship.
        1992 University of Oxford
               First recipient of the Isaiah Berlin Scholarship for research in Italy.
        1991 - 1994 Social Sciences and Humanities Research Council of Canada
               Full doctoral scholarship.
        1989 - 1991 Association of Commonwealth Universities
               Commonwealth Scholarship for graduate study at the University of Oxford.




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SELECTED SCHOLARLY AND SPECIALIST PUBLICATIONS:
        “Clichés Reach Critical Mass, Take Writers Down Slippery Slope,” in The Art of Critique: Re-
        imagining Art Criticism, ed. Stephen Knudsen. Forthcoming from ARTium Publishing.
        “Warhol’s Defiant Hopes for Queer Art,” in Andy Warhol: Love, Sex, and Desire, Drawings
        1950–1962, ed. Michael Dayton Hermann. New York: Taschen, 2020.
        “The Women Who Made Warhol,” in Warhol Women. New York: Levy Gorvy, 2019.
        “Andy Warhol Outside-In,” in Adman: Warhol before Pop, ed. Nicholas Chambers. Sydney:
        Art Gallery of New South Wales, 2017.
        “Crown Jewels for a Philosopher King,” in Beyond Bling: Contemporary Jewelry, ed. Rosie
        Chambers Mills and Bobbye Tigerman. Los Angeles: Los Angeles County Museum of Art,
        2016.
        “On ‘In Praise of Forgery’,” in Art Crime: Terrorists, Tomb Raiders, Forgers and Thieves, ed.
        Noah Charney. New York: Palgrave McMillan, 2016.
         “Aesthetic Science and Artistic Knowledge,” in Aesthetic Science: Connecting Minds, Brains,
        and Experience, ed. Steven Palmer and Arthur Shimamura. Oxford: Oxford University Press,
        2011.
        “Revolution in a Can” [on the politics of graffiti]. Foreign Policy 189 (2011): 92-93.
        “Acomocliticism” [on art and the history of pubic depilation]. Cabinet Magazine: A Quarterly
        of Art and Culture 40 (Winter 2010/11): 35.
        Respondent in Art and Globalization, ed. James Elkins. University Park, PA: Penn State
        Press, 2010.
        Respondent in The State of Art Criticism, ed. James Elkins. New York: Routledge, 2007.
        “Physiognomic Theory and a Drawing by Baldassare Peruzzi.” Konsthistorisk Tidskrift 66
        (1997): 133-141.
        “Leopold Foulem’s Conceptual Pottery.” American Ceramics 12, 2 (1996): 24-29.
        “Contradictory Lightings and the Repainting of Giovanni Bellini’s Feast of the Gods.” La
        Gazette des beaux-arts 125 (1995): 201-208.



SELECTED PUBLIC LECTURES AND PANELS:
        “Andy Warhol Hated Campbell’s Soup… and other lies of the master.” Lecture at the
        Oxford Center for Life Writing. Wolfson College, Oxford, March 10, 2020.
        “Andy Warhol: From Elf to Grinch and Back Again.” Lecture at the Art Institute of
        Chicago. Chicago, Dec. 18, 2020.
        “Warhol's Books/Warhol's World.” Lecture at the Morgan Library and Museum. New
        York, Feb. 5, 2016.




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   “Andy Warhol: Portrait of the Artist as a young Yinzer.” Lecture at the Pittsburgh
   Humanities Festival. Pittsburgh, March 28, 2016.
   “Those Who Don’t Know Art History Are Doomed to Repeat It.” Lecture at the Santa Fe
   Art Institute. Santa Fe, Aug. 3, 2009.
   “The Technologies of Lighting and the Light Seen in Art.” Paper delivered at “Art, Science
   and Technology – Connections,” a symposium at the Boston Museum of Fine Arts. Boston,
   March 29, 2009.
   “Ken Burns's 'Baseball' and Vermeer's 'View': A Much Closer Look at Dutch Art.” Paper
   delivered at “Pictures in Art, Science and Engineering,“ a conference at the University of
   California, Berkeley. Berkeley, March 22 -25, 2007.
   “Long Live Realism! Realism is Dead.” Public lecture at the Corcoran Gallery of Art.
   Washington, Sept. 19, 2001.
   “Rhetorics of Realism in Renaissance Practice.” Presentation to the American Psychological
   Association. Toronto, Aug. 11, 1996.




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LIST OF ADDITIONAL PUBLICATIONS


—[Untitled essay on glass from the ancient Near East], forthcoming from Oliver Hoare Ltd.,
London.
—“Painting that Makes Perfect Sense,” forthcoming in John Shaw, privately published, Toronto,
Canada.
— “Jasper Johns,” Dec. 2021 at 4columns.org/gopnik-blake/jasper-johns.
— “From the Outside In,” August 21, 2021, at airmail.news/issues/2021-8-21/from-the-outside-
in.
— “The NFT Craze Encapsulates the Absurdity of the Art World—And Its Obsession with
Authenticity,” March 1, 2021, at https://www.theartnewspaper.com/2021/03/01/the-nft-
craze-encapsulates-the-absurdity-of-the-art-worldand-its-obsession-with-authenticity.
— “Museums Had Better Not Be Planning for a Return to the Status Quo,” Dec. 31, 2020, at
https://www.theartnewspaper.com/2020/12/31/museums-had-better-not-be-planning-for-a-
return-to-the-status-quo.
— “Damien Hirst: Colour Space Paintings,” June 22, 2020, at
gagosian.com/quarterly/2020/06/22/essay-damien-hirst-colour-space-paintings/
— “A Remarkable Exhibition in London Reveals How the Renaissance Painter Titian Once
Captured the Troubled Psyche of a Colonial King,” March 24, 2020, at
https://news.artnet.com/art-world/titian-fables-national-gallery-london-1812411.
— [Introduction], in Rob Roth, WARHOLCAPOTE: A Non-Fiction Invention. Forthcoming from
Simon&Schuster.
—“Clichés Reach Critical Mass, Take Writers Down Slippery Slope,” in The Art of Critique: Re-
imagining Art Criticism, ed. Stephen Knudsen. Forthcoming from ARTium Publishing.
—“Warhol’s Defiant Hopes for Queer Art,” in Andy Warhol: Love, Sex, and Desire, Drawings
1950–1962, ed. Michael Dayton Hermann. New York: Taschen, 2020.
— “Vija Celmins’s Stunning Show at the Met Breuer Is a Master Class in How Pictures Don’t
Work Anymore,” Oct. 22, 2019, at news.artnet.com/art-world/vija-celmins-met-breur-1684402
— “Is Jeff Koons's 'Rabbit' the Ultimate Modern Icon?,” May 15, 2019, at
https://www.christies.com/features/Blake-Gopnik-on-Rabbit-by-Jeff-Koons-9868-3.aspx
—“The Women Who Made Warhol,” in Warhol Women. New York: Levy Gorvy, 2019.
—“Under the Table,” fall 2018, at https://gagosian.com/quarterly/2019/02/05/essay-robert-
therrien-under-the-table/




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—“Andy Warhol Outside-In,” in Adman: Warhol before Pop, ed. Nicholas Chambers. Sydney:
Art Gallery of New South Wales, 2017.
—“Crown Jewels for a Philosopher King,” in Beyond Bling: Contemporary Jewelry, ed. Rosie
Chambers Mills and Bobbye Tigerman. Los Angeles: Los Angeles County Museum of Art, 2016.
— [Catalog essay], in Veronica Roberts, Nina Katchadourian: Curiouser. Austin, Texas: Blanton
Museum of Art, 2017.
—“On ‘In Praise of Forgery’,” in Art Crime: Terrorists, Tomb Raiders, Forgers and Thieves, ed.
Noah Charney. New York: Palgrave McMillan, 2016.
— “How is the proliferation of art fairs changing the business?,” Feb. 23, 2015, at
english.elpais.com/elpais/2015/02/20/inenglish/1424442393_097596.html
— “In Defense of Faking It,” March, 2014, at https://brooklynrail.org/2014/03/art/the-held-
essays-on-visual-artin-defense-of-faking-it
— “Exhibition Review: James Turrell at the Guggenheim,” June 20, 2013 at
https://www.architecturalrecord.com/authors/420-blake-gopnik
— “Clichés Lead Critics Down Slippery Slope,” Feb. 2013, at
https://brooklynrail.org/2013/02/artseen/clichs-lead-critics-down-slippery-slope
— “The Perils Of The Special Exhibition,” The Art Newspaper, April 2013.
—“Aesthetic Science and Artistic Knowledge,” in Aesthetic Science: Connecting Minds, Brains,
and Experience, ed. Steven Palmer and Arthur Shimamura. Oxford: Oxford University Press,
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— Respondent in The State of Art Criticism, ed. James Elkins. New York: Routledge, 2007.
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(1997): 133-141.
—“Leopold Foulem’s Conceptual Pottery.” American Ceramics 12, 2 (1996): 24-29.
—“Contradictory Lightings and the Repainting of Giovanni Bellini’s Feast of the Gods.” La
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